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C0                           SEALED
                             IN THE UNITED STATES
                                                  DISTRICT
                              FOR THE WESTERN DISTRICT OF COUMI EF O
                                                           TEXAT"
                                     SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA,
                                                 SEALED
                Plaintiff,
                                                 CRIMINAL NO. SA-17-CR-00070-DAE
 V.
                                                 4th SUPERSEDING INDICTMENT
 ROSENDO HILARIO
                     RODRIGUEZ-ESPINO              CT 1: 21:846 & 841(a)(1)
    aka "CHEF" aka "ROJO" (1)                                                   -Conspiracy to
                                                   Possess a Controlled Substance with
 FRANCISCO MEDINA ALDACO (2)                       Intent to Distribute
 JESUS ANGEL MORENO (3)                                                 (methamphetamine);
                                                  CT 2: 21:841(a)(1)-Possession      with
 KIMBERLY BRETADO (4)                             Intent to Distribute a Controlled
JOSE ESPINOSA AGUILAR                                                               Substance;
                                                  (methamphetamine)
        aka "CHEMA" (5)                           CT 3: 211:959(a),963,960(a)(3) &
                                                                                       (b)(1)-
VICTOR RODRJGUEZ-CISNEROS                        Extraterritorial distribution of narcotics
      aka "VIRO" (6)                             (methamphetamine);
                                                 CT 4: 21 :841(a)(1)- Possession with
LEOBARDO SANCHEZ-ESPINDOLA
                                                 Intent to Distribute a Controlled
      aka "LEO" (7)                                                                 Substance;
                                                (methamphetamine)
FR.EDY PINEDA-PINEDA (8)                        CT 5: 18:924(c)- Possession of a
SANTOS MONTOYA-SIERRA (9)                       in furtherance of a Drug TraffickingFireann
ANTHONY ACOSTA (10)                             CT 6: 21:841(a)(1) &                    Crime
                                                                           841(b)(1)(A)(viii)-
                                                Possession with Intent to Distribute a
                                                Controlled Substance (methamphetamine)
                                               CT 7: 21:846 & 841(a)(1)-Conspiracy
                                                                                            to
              Defendants.                      Possess a Controlled Substance With
                                               to Distribute (heroin)                   Intent
                                               CT 8: 21:841(a)(1) & 841 (b)(1 )(A)(i)
                                               Possession with Intent to Distribute a
                                               Controlled Substance (heroin)
                                               CT 9: 18 U.S.C. 1956 (a)(1)(A)(i) &
                                              (ii) and 1956(h)- Money Laundering
                                              CT 10: 21:841(a)(1) & 841(b)(1)(A)(i)-
                                              Possession with Intent to Distribute a
                                              Controlled Substance (heroin)
                                              CT 11: 21:84l(a)(1) &
                                                                         841(b)(1)(A)(viii)-
                                              Possession with Intent to Distribute a
                                              Controlled Substance (methamphetaniine)
                                              CT 12: 21:841(a)(1) & 841(b)(1)(B)(ii)-
                                             Possession with Intent to Distribute a
                                             Controlled Substance (cocaine)
                                             CT 13: 21:841(a)(1) & 841(b)(1)(A)(i)-
                                             Possession with Intent to Distribute a
                                             Controlled Substance (heroin)
                                             CT 14: 841(a)(1) & 841(b)(1)(A)(viii)-
                                             Possession with Intent to Distribute a
                                             Controlled Substance (methamphetamine)
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      THE GRAND JTJRY
                               CHARGES:



                                (21 U.S.C. 846 &
                                                     CO1JT ONE
                                                 841(a)(1) &
                                                                  841(b)(1)(A)(viii))
             That beginning on or
                                     about November 1, 2016,
                                                                  and continuing through
     the date of this                                                                      and including
                        indictment, in the Western
                                                     District of Texas,
                                                                        Defendants,
               ROSENDO HILARIO
                                     RODRIGUEZ-ESPINO aka "CHEF" aka
                                 FRANCISCO MEDINA                     "ROJO" (1)
                                                    ALDACO (2)
                                     JESUS ANGEL
                                                 MORENO (3)
                                      KIMBERLY BRETADO (4)
                             JOSE ESPINOSA
                                            AGUILAR aka "CHEMA" (5)
                            VICTOR
                                   RODRJGUEZ-CISNEROS aka "VIRO" (6)
                           LEOBARDO
                                      SANCHEZ-ESPINDOLA aka "LEO" (7)
                                    FREDY PINEDA-PINEDA
                                                          (8)
                                 SANTOS
                                          MONTOYA-SIERRA (9)
                                     ANTHONY ACOSTA (10)



  knowingly, intentionally, and
                                   unlawfully conspired, combined,
                                                                      confederated, and agreed with
  others to the Grand Jury
                             known and unknown, to
                                                      commit offenses against the
                                                                                    United States, in
  violation of Title 21, United
                                States Code, Section 846,
                                                          that is to say, they
                                                                               conspired to possess a
 controlled substance, which
                                offense involved 500
                                                       grams or more of a
                                                                               mixture or substance
 containing a detectable
                          amount of methamphetamine,
                                                         a Schedule II
                                                                         Controlled Substance, with
intent to distribute same,
                             contrary to Title 21,
                                                    United States Code,
                                                                            Sections 84l(a)(1) and
841 (b)(l )(A)(viii).


                                           COUNT TWO
                             (21 U.S.C. 841(a)(1) &
                                                    841(b)(1)(A)(vffi))
      That on or about
                           November 30, 2016, in the
                                                        Western District of Texas,
                                                                                      Defendants,
         ROSENDO HILARIO
                                  RODRIGUEZ-ESPINO aka "CHEF" aka
                               FRANCISCO MEDINA ALDACO            "ROJO" (1)
                                                         (2)
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       knowingly and intentionally
                                     possessed with intent to distribute
                                                                           a controlled substance,
                                                                                                     which
      offense involved 500 grams or
                                    more of a mixture or
                                                         substance  containing a detectable amount
                                                                                                   of
     methamphetamine, a Schedule II
                                        Controlled Substance, in
                                                                 violation of Title 21, United
     Code, Sections 841 (a)(l) and                                                             States
                                   841 (b)(l )(A)(viii).

                                              COUNT THREE
                                (21 U.S.C. 959(a), 963,
                                                        960(a)(3)    and (b)(1))
            Beginning on or about November
                                                17, 2016 and continuing
                                                                        until    on or about date of this
    Indictment in the Western District
                                         of Texas, the Republic of
                                                                     Mexico, and elsewhere, the
    Defendants,

              ROSENDO HILARTO
                                   RODRIGUEZ-ESPINO aka "CHEF" aka
                               FRANCISCO MEDINA ALDACO             "ROJO" (1)
                                                            (2)
                                   JESUS ANGEL MORENO (3)
                                    KIMBERLY BRETADO (4)
                           JOSE ESPINOSA AGUILAR
                                                  aka "CHEMA" (5)
                         VICTOR
                                 RODRIGUEZ-CISNEROS aka "VIRO" (6)
                        LEOBARDO
                                    SANCREZ-ESP1NDOLA aka "LEO" (7)
                                  FREDY PINEDA-PINEDA (8)
                                SANTOS MONTOYA-SIERRA
                                                         (9)
                                    ANTHOZ ACOSTA (10)



 knowingly, intentionally, and
                                 unlawfully conspired, combined,
                                                                     confederated, and agreed together,
 and with each other, and with
                               others to the Grand    Jury unknown, to commit
                                                                                   offenses against the
 United States, in violation of
                                  Title 21, United States
                                                           Code, Section 963, that is to
                                                                                              say, they
 conspired to distribute 500 grams or
                                      more of a mixture or substance
                                                                      containing a detectable amount
of methamphetamine, a
                            Schedule II controlled substance,
                                                                 intending and knowing that said
controlled substance would be
                                unlawfully imported into the United
                                                                      States, in violation of Title 21,
United States Code, Sections
                               959(a), 963, and 960(a)(3) and
                                                              (b)(1).


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                                                COUNT FOUR
                                 (21 U.S.C. 841(a)(1) &
                                                        841(b)(1)(A)(viii))
             That on or about November 8,
                                          2016, in the Western District
                                                                             of Texas, Defendants,
                    ROSENDO HILARIO
                                           RODRIGUEZ-ESPINO aka
                                      JESUS ANGEL MORENO (3) "CHEF" aka "ROJO" (1)
                            JOSE ESPINOSA AGUILAR
                                                           aka "CHEMA" (5)
                          VICTOR
                                    RODRJGUEZ-CISNERO5 aka "VIRO" (6)
                         LEOBARDO
                                       SANCHEZ-ESPINDOLA aka "LEO" (7)
     knowingly and intentionally
                                  possessed with intent to
                                                            distribute a controlled substance,
                                                                                               which
    offense involved 500 grams or
                                   more of a mixture or substance
                                                                   containing a detectable amount of
    methamphetamine, a Schedule II
                                      Controlled Substance, in violation
                                                                          of Title 21, United States
    Code, Sections 841(a)(1) and
                                 841(b)(1)(A)(viii).


                                              COUNT FIVE
                                       (18 U.S.C. 924(c)(1) and (2)
          Beginning on or about November 8,
                                                2016, in the Western District
                                                                                of Texas, Defendant,
                                    JESUS ANGEL MORENO (3)
  did knowingly carry or use a
                               firearm, that is a     Smith and Wesson, .9mm
                                                                             semi-automatic handgun
  Model SW9\TE, serial #DYK1 507,
                                       during and in relation to the drug
                                                                        trafficking crimes charged in
  Count One or Four of this
                              Indictment, and did possess said
                                                                 firearm in furtherance of said
                                                                                                drug
 trafficking crimes, re-alleged herein,
                                        contrary to Title 18, United States
                                                                            Code, Sections 924(c)(l)
 and 2.


                                            COUNT SIX
                            (21 U.S.C. 841(a)(1) &
                                                   841(b)(1)(A)(vffi))
        That on or about February 2,
                                       2017, in the Western District of
                                                                          Texas, Defendants,
          ROSENDO HILARIO
                          RODRIGUEZ-ESPINO aka "CHEF" aka "ROJO"
                           KIMBERLY BRETADO (4)                  (1)

knowingly and intentionally possessed
                                      with intent to distribute a
                                                                  controlled substance, which
                                                 ru
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       offense involved 500 grams
                                       or more of a mixture or
                                                                  substance containing a
                                                                                     detectable amount of
       methamphetamine, a Schedule II
                                            Controlled Substance, in
                                                                     violation of Title 21, United
       Code, Sections 841 (a)( 1)                                                                  States
                                  and 841 (b)(1 )(A)(viii).


                                                 COUNT SEVEN
                               (21 U.S.C. 846 &
                                                   841(a)(1) & 841(b)(1)(A)(i))
             That beginning on or about
                                            January 1, 2015, and
                                                                 continuing    through and including
     the date of this indictment,
                                    in the Western District of
                                                                 Texas, the Northern
                                                                                       District of Texas and
     elsewhere, Defendants,

               ROSENDO HILARIO
                                         RODRIGUEZ-ESPINO aka "CHEF" aka
                                         KIMBERLY BRETADO (4)            "ROJO" (1)
    knowingly, intentionally, and
                                     unlawfully conspired, combined,
                                                                        confederated, and agreed with
    others to the Grand Jury
                              known and unknown, to
                                                        commit offenses against the
                                                                                      United States, in
   violation of Title 21, United
                                 States Code, Section 846,
                                                            that is to say, they
                                                                                 conspired to possess a
   controlled substance, which
                                 offense involved 1 kilogram
                                                                'or more of a mixture or
  containing a detectable amount                                                             substance
                                      of heroin, a Schedule I
                                                               Controlled Substance, with
  distribute same, contrary to Title                                                           intent to
                                     21, United States Code,
                                                             Sections 841 (a)(1) and 841 (b)(
                                                                                              l)(A)(i).

                                         COUNT EIGHT
                              (21 U.S.C. 841(a)(1) &
                                                     841(b)(1)(A)(i))
         That on or about May 24,
                                     2015, in the Western District
                                                                     of Texas and elsewhere,
                                                                                               Defendant,
                                      KIMBERLY BRETADO (4)
 knowingly and intentionally
                               possessed with intent to
                                                           distribute a controlled substance,
offense involved one kilogram                                                                 which
                                or more of a mixture or
                                                         substance containing a
                                                                                  detectable amount
of heroin, a Schedule I
                        Controlled Substance, in violation
                                                           of Title 21, United States Code,
                                                                                            Sections
841(a)(1) and 841(b)(l)(A)(i).

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                                                COUNT NINE
                               (18 U.S.C. 1956 (a)(1)(A)(i)
                                                            & (ii) and 1956(h))
            Beginning on or about November
                                                1, 2016 through and
                                                                    including July 12, 2017, in the
     Western District of Texas and
                                   elsewhere, the Defendants,

                             JOSE ESPINOSA AGUILAR
                                                   aka "CH1EMA" (5)
                           VICTOR
                                   RODRIGUEZ-CISNEROS aka "VIRO" (6)
                          LEOBARDO SANCFIEZ-ESPINDOLA
                                                         aka "LEO" (7)
                                    FREDY PINEDA-P1NEDA (8)

                                                                       i)

    did knowingly conspire with
                                each other and others known
                                                              and unknown to the Grand
                                                                                           Jury to
   conduct and to attempt to
                                conduct financial transactions,
                                                                  affecting interstate and
                                                                                            foreign
   commerce, which involved the
                                 proceeds of a specified unlawful
                                                                   activity,   to-wit: drug trafficking
   violations of Title 21, United States
                                         Code, Sections 846, 841(a)(1),
                                                                         963, 952, 959 and 960(a)(1),
   with the intent to promote the
                                  carrying on of the specified
                                                               unlawful activity knowing that the
  property involved in the fmancial
                                      transaction represented the proceeds
                                                                           of some form of unlawful
  activity.


                                            COUNT TEN
                              (21 U.S.C. 841(a)(1) &
                                                     841(b)(1)(A)(i))
         That on or about August 8,
                                    2017, in the Western   District of Texas, Defendants,
                                   FREDY PINEDA-PINEDA (8)


 knowingly and intentionally
                               possessed with intent to distribute a
                                                                        controlled substance, which
offense involved one kilogram or
                                   more of a mixture or substance
                                                                     containing a detectable amount
of heroin, a Schedule I Controlled
                                   Substance, in violation of Title 21,
                                                                        United States Code, Sections
841(a)(1) and 841(b)(l)(A)(i).
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                                             COUNT ELEVEN
                                 (21 U.S.C. 841(a)(1) &
                                                        841(b)(1)(A)(viii))
            That on or about August 8, 2017, in
                                                the Western District of Texas,
                                                                               Defendants,
                                      FREDY PINEDA-PINEDA (8)


    knowingly and intentionally possessed
                                            with intent to distribute a
                                                                        controlled substance, which
    offense involved 500 grams or more of a
                                            mixture or substance containing a
                                                                               detectable amount of
   methamphetamine, a Schedule II Controlled
                                                    Substance, in violation of Title 21,
                                                                                         United States
   Code, Sections 841 (a)( 1) and 841
                                      (b)(1 )(A)(viii).

                                          COUNT TWELVE
                                (21 U.S.C. 841(a)(1) &
                                                       841(b)(1)(B)(ii))
          That on or about August 8, 2017, in the
                                                  Western District of Texas,   Defendants,
                                    FREDY PINEDA-PINEDA (8)


 knowingly and intentionally possessed
                                          with intent to distribute a controlled
                                                                                   substance, which
 offense involved 500 grams or more of a
                                          mixture or substance containing a
                                                                               detectable amount of
 cocaine, a Schedule II Controlled
                                   Substance, in violation of Title 21, United
                                                                               States Code, Sections
 841(a)(l) and 841(b)(l)(B)(ii).

                                       COUNT THIRTEEN
                              (21 U.S.C. 841(a)(1) &
                                                     841(b)(1)(A)(i))
         That on or about August 16, 2017, in the
                                                  Western District of Texas,   Defendants,
                                SANTOS MONTOYA-SIERRA (9)
                                   ANTHONY ACOSTA (10)

                                                                  1
knowingly and intentionally possessed with
                                                intent to distribute a controlled
                                                                                   substance, which
offense involved one kilogram or more of a
                                            mixture or substance containing a
                                                                                 detectable amount
of heroin, a Schedule I Controlled Substance, in
                                                 violation of Title 21, United States Code,
                                                                                            Sections
                                                7
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  841(a)(1) and 841(b)(1)(A)(i).

                                       COUNT FOURTEEN
                             (21 U.S.C. 841(a)(1) &
                                                    841(b)(1)(A)(viii))
         That on or about August    2017, in the Western District of Texas,
                                                                              Defendants,



 knowingly and intentionally possessed with
                                             intent to distribute a controlled
                                                                               substance, which
 offense involved 500 grams or more of a
                                         mixture or substance containing a
                                                                           detectable amount of
methamphetaniine, a Schedule II Controlled
                                                 Substance, in violation of Title 21, United
                                                                                             States
Code, Sections 841 (a)(1) and 841 (b)(1
                                        )(A)(viii).




RICHARD L. DURBIN, JR.
UNITED STATES ATI'ORNEY



       RUSSELL D. LEACUMAN
       Assistant U.S. Attorney




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